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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                 CRIMINAL NO. 17-241
 VERSUS                                                   SECTION "A"
 IRVIN MAYFIELD                                           VIOLATION:
 RONALD MARKHAM



                 NOTICE OF INITIAL APPEARANCE AND ARRAIGNMENT

Take notice that this criminal proceeding is set for January 4, 2018 at 2:00 p.m., before
Magistrate Judge Daniel E. Knowles, III, Ctrm B305, 500 Poydras Street, New Orleans, LA.

      IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING.

PERSONS ON BOND MUST REPORT TO THE DEPUTY U. S. MARSHAL IMMEDIATELY OUTSIDE
THE COURTROOM FOR EVALUATION AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.

                                                      WILLIAM W. BLEVINS, CLERK
Date: December 14, 2017                               by: James Crull, Deputy Clerk

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TO:

✓ IRVIN MAYFIELD (summons)                     ✓ AUSA: Dall Kammer
✓ Claude Kelly, Counsel
                                               ✓ U.S. Probation Office
✓ RONALD MARKHAM (summons)
✓ Sara Johnson, Counsel                        ✓ U.S. Probation Office - Pretrial Services Unit

                                               ✓ U.S. Marshal

                                                  JUDGE

                                               ✓ MAGISTRATE JUDGE

If you change address,                         ✓ FBI - Lantto
notify clerk of court
by phone, (504) 589-7688
